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                                                                     10001 Park Run Drive
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                                                                5      Attorneys for LVMPD
                                                                6                                 UNITED STATES DISTRICT COURT
                                                                7                                          DISTRICT OF NEVADA
                                                                8    LAS VEGAS POLICE PROTECTIVE
                                                                     ASSOCIATION METRO, INC.; LAS VEGAS
                                                                9    METRO POLICE MANAGERS &                               Case No.:      2:15-cv-01928-LDG-CWH
                                                                     SUPERVISORS ASSOCIATION,
                                                               10
                                                                                                      Plaintiff,
                                                               11
                                                                            vs.
MARQUIS AURBACH COFFING




                                                               12
                                                                     LAS VEGAS METROPOLITAN POLICE
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13    DEPARTMENT,
                                Las Vegas, Nevada 89145




                                                               14
                                  10001 Park Run Drive




                                                                                                      Defendant.
                                                               15

                                                               16                                                   ANSWER
                                                               17           Defendant Las Vegas Metropolitan Police Department (hereinafter “LVMPD”) by and
                                                               18    through its attorney of record, Nick D. Crosby, Esq. with the law firm of Marquis Aurbach
                                                               19    Coffing, hereby answers Plaintiff’s Amended Complaint as follows:
                                                               20           1.      In answering Paragraph 1 of Plaintiffs’ Amended Complaint, LVMPD denies the
                                                               21    allegations contained therein.
                                                               22           2.      In answering Paragraph 2 of the Plaintiffs’ Amended Complaint, LVMPD denies
                                                               23    the allegations contained therein, as Plaintiffs lack standing to bring this claim.
                                                               24           3.      In answering Paragraph 3 of Plaintiffs’ Amended Complaint, LVMPD admits
                                                               25    venue is proper, if Plaintiffs had standing.
                                                               26           4.      In answering Paragraph 4 of Plaintiffs’ Amended Complaint, LVMPD admits the
                                                               27    allegations contained therein.
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                                                                1            5.     In answering Paragraph 5 of Plaintiffs’ Amended Complaint, LVMPD admits

                                                                2    Plaintiffs are local government employee organizations who represent various employees of
                                                                3    LVMPD. LVMPD Admits the parties’ collective bargaining agreements contain provisions

                                                                4    regarding paid association leave, but deny the remaining allegations contained therein.

                                                                5            6.     In answering Paragraph 6 of Plaintiffs’ Amended Complaint, LVMPD admits the
                                                                6    allegations contained therein.

                                                                7            7.     In answering Paragraph 7 of Plaintiffs’ Amended Complaint, LVMPD admits the

                                                                8    in 2015 the Nevada Legislature passed SB 241 which contained the cited Section 1, but is
                                                                9    without sufficient information to form an opinion as to whether SB 241 was “in response to a

                                                               10    proposal from the anti-union American Legislative Exchange Council” and, therefore denies the

                                                               11    same.
MARQUIS AURBACH COFFING




                                                               12            8.     In answering Paragraph 8 of Plaintiffs’ Amended Complaint, LVMPD admits the
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13    allegations contained therein.
                                Las Vegas, Nevada 89145




                                                               14            9.     In answering Paragraph 9 of Plaintiffs’ Amended Complaint, LVMPD denies the
                                  10001 Park Run Drive




                                                               15    allegations contained therein.

                                                               16            10.    In answering Paragraph 10 of Plaintiffs’ Amended Complaint, LVMPD repeats

                                                               17    and re-alleges each and every response thereto.
                                                               18            11.    In answering Paragraph 11 of Plaintiffs’ Amended Complaint, LVMPD denies the

                                                               19    same as it asks for a legal conclusion.

                                                               20            12.    In answering Paragraph 12 of Plaintiffs’ Amended Complaint, LVMPD denies the
                                                               21    same as it asks for a legal conclusion.

                                                               22            13.    In answering Paragraph 13 of Plaintiffs’ Amended Complaint, LVMPD denies the

                                                               23    “important public purposes” identified in this paragraph are contingent upon “paid leave” as
                                                               24    alleged in the paragraph. LVMPD is without sufficient information to form an opinion as to

                                                               25    whether the purposes identified constitute, as a matter of law, an “important public purpose” and,

                                                               26    therefore, deny the same. LVMPD denies the remaining allegations contained therein.
                                                               27            14.    In answering Paragraph 14 of Plaintiffs’ Amended Complaint, LVMPD denies the

                                                               28    allegations contained therein.
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                                                                1           15.     In answering Paragraph 15 of Plaintiffs’ Amended Complaint, LVMPD denies the

                                                                2    allegations contained therein..
                                                                3           16.     In answering Paragraph 16 of Plaintiffs’ Amended Complaint, LVMPD denies the

                                                                4    allegations contained therein..

                                                                5           17.     In answering Paragraph 17 of Plaintiffs’ Amended Complaint, LVMPD is without
                                                                6    knowledge or information sufficient to form a belief as to the truth of the allegations contained

                                                                7    therein, and therefore, denies the same.

                                                                8           18.     In answering Paragraph 18 of Plaintiffs’ Amended Complaint, LVMPD denies the
                                                                9    allegations contained therein.

                                                               10           19.     In answering Paragraph 19 of Plaintiffs’ Amended Complaint, LVMPD repeats

                                                               11    and re-alleges each and every response thereto.
MARQUIS AURBACH COFFING




                                                               12           20.     In answering Paragraph 20 of Plaintiffs’ Amended Complaint, LVMPD denies the
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13    allegations contained therein.
                                Las Vegas, Nevada 89145




                                                               14           21.     In answering Paragraph 21 of Plaintiffs’ Amended Complaint, LVMPD denies the
                                  10001 Park Run Drive




                                                               15    allegations contained therein.

                                                               16           22.     In answering Paragraph 22 of Plaintiffs’ Amended Complaint, LVMPD repeats

                                                               17    and re-alleges each and every response thereto.
                                                               18           23.     In answering Paragraph 23 of Plaintiffs’ Amended Complaint, LVMPD denies the

                                                               19    allegations contained therein.

                                                               20           24.     In answering Paragraph 24 of Plaintiffs’ Amended Complaint, LVMPD denies the
                                                               21    allegations contained therein.

                                                               22                                      AFFIRMATIVE DEFENSES
                                                               23           1.      Plaintiffs lack standing.
                                                               24           2.      Plaintiffs’ claims, and each of them, are not ripe.

                                                               25           3.      Not justiciable controversy exists.

                                                               26           4.      Plaintiffs are not members of a protected class.
                                                               27           5.      Plaintiffs’ damages, if any, are the result of Plaintiffs’ own action or inaction.

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                                                                1            6.      Plaintiffs’ damages, if any, are the result of a third party(ies) over which

                                                                2    Defendant has not control.
                                                                3            7.      Plaintiffs failed to state a claim upon which relief can be granted.

                                                                4            8.      The activities identified in the Amended Complaint are not entitled to

                                                                5    constitutional protection.
                                                                6            9.      Plaintiffs failed to plead their claims with particularity and specificity.

                                                                7            10.     Defendant did not draft Senate Bill 241 and, therefore, cannot be liable for claims

                                                                8    arising under the Equal Protection clause of the Fourteenth Amendment for the same.
                                                                9            11.     Plaintiffs failed to plead Defendant had an improper motive or intent relative to

                                                               10    the Equal Protection cause of action.

                                                               11            12.     Defendant did not infringe, abridge, hinder or otherwise chill any rights
MARQUIS AURBACH COFFING




                                                               12    recognized under the First Amendment.
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13            13.     SB 241 is constitutional both facially and as applied.
                                Las Vegas, Nevada 89145




                                                               14            14.     Plaintiffs failed to demonstrate a likelihood of success on the merits required to
                                  10001 Park Run Drive




                                                               15    secure preliminary injunctive relief.

                                                               16            15.     Plaintiffs failed to demonstrate irreparable harm necessary to secure preliminary

                                                               17    injunctive relief.
                                                               18            16.     Defendant did not enact or promulgate any policy, statute, ordinance or custom,

                                                               19    policy of procedure which denied or abridged any of Plaintiffs’ constitutional rights.

                                                               20            17.     Plaintiffs’ claims of constitutional violations are unsupported in both fact and law,
                                                               21    as Plaintiffs have not alleged a sufficient basis from which a constitutional interest might arise in

                                                               22    conjunction with the alleged actions.

                                                               23            18.     Plaintiffs’ claims are barred by the Tenth Amendment to the U.S. Constitution.
                                                               24            19.     Plaintiffs’ claims are barred by the Eleventh Amendment to the U.S. Constitution.

                                                               25            20.     Pursuant to FRCP 11, as amended, all possible affirmative defenses may not have

                                                               26    been alleged herein, in so far as sufficient facts were not available after a reasonable inquiry
                                                               27    upon the filing of this Defendant’s Answer to Plaintiff’s Amended Complaint; therefore, this

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                                                                1    Defendant reserves the right to amend its answer to allege additional affirmative defenses if

                                                                2    subsequent investigations so warrant.
                                                                3                                       PRAYER FOR RELIEF
                                                                4           WHEREFORE, Defendant prays for judgment against Plaintiff as follows:

                                                                5           1.     That Plaintiffs take nothing by way of the Amended Complaint and that the same
                                                                6    be dismissed with prejudice;

                                                                7           2.     For an award of reasonable attorney fees and costs of suit; and

                                                                8           3.     For any further relief as the Court deems to be just and proper.
                                                                9           Dated this 30th day of October, 2015.

                                                               10
                                                                                                                 MARQUIS AURBACH COFFING
                                                               11
MARQUIS AURBACH COFFING




                                                               12
                                                                                                                 By      /s/ Nick Crosby
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13                                                     Nick D. Crosby, Esq.
                                                                                                                      Nevada Bar No. 8996
                                Las Vegas, Nevada 89145




                                                               14                                                     10001 Park Run Drive
                                  10001 Park Run Drive




                                                                                                                      Las Vegas, Nevada 89145
                                                               15                                                     Attorney(s) for LVMPD

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